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8                    IN THE UNITED STATES DISTRICT COURT

9                  FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,

12              Respondent,                  No. CR S-93-0043 GEB JFM P

13        vs.

14   CURTIS ANTHONY SLATON,

15              Movant.                      ORDER

16                                  /

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18              Movant, a federal prisoner proceeding pro se, has filed

19   a motion to vacate, set aside or correct his sentence pursuant to

20   28 U.S.C. § 2255.    The matter was referred to a United States

21   Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local

22   General Order No. 262.

23              On March 25, 2005, the magistrate judge filed findings

24   and recommendations herein which were served on all parties and

25   which contained notice to all parties that any objections to the

26   findings and recommendations were to be filed within twenty days.

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1    Neither party has filed objections to the findings and

2    recommendations.

3               The court has reviewed the file and finds the findings

4    and recommendations to be supported by the record and by the

5    magistrate judge’s analysis.      Accordingly, IT IS HEREBY ORDERED

6    that:

7               1.   The findings and recommendations filed March 25,

8    2005, are adopted in full;

9               2.   Movant’s September 2, 2004 motion to vacate, set

10   aside, or correct his sentence pursuant to 28 U.S.C. § 2255 is

11   denied; and

12              3.   The Clerk of the Court is directed to close the

13   companion civil case, No. CIV S-04-1846.

14   Dated:   April 27, 2005

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                                       /s/ Garland E. Burrell, Jr.
16                                     GARLAND E. BURRELL, JR.
                                       United States District Judge
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